Experian lnformation Systems, Inc_

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MAS SACHUSETTS

Frank Barrepski and Carrie
Barrepski
Pl_.AlNTlFFS CIVIL ACTION NO:
V. Michael A. Ponsor, U.S.D.J

Capital One Bank (U.S_A_), N.A. Kenneth P. Neim-.m, U_s.M.J.

and

DEFENDANTS

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COMPLAINT AND DEMAND FOR A JURY TR`[AL

This is an action to redress the Defendants’ violations of the Fair Credit Reporting
Act, 15 U.S.C. §§ 1681-1681(u), as amended and corresponding State law.
Defendants have knowingly and willfully engaged in the continued entry of false and
defamatory information in Mr. Barrepski’s consumer report He seeks damages for
repeated entries of false information into the consumer report and defamation Both
F rank and Carrie Barrepski also seek damages for pain and suffering and emotional
distress

JURISDICTIONAL STATEMENT
This case is brought under the federal F air Credit Reporting Act (FCRA), 15 U.S.C.
§§ 1681-1681(u). “An action to enforce any liability created under this title may be
brought in any appropriate United States district court, without regard to the amount
in controversy . .” 15 U.S.C. § 1681p_

PARTIES

1. Plaintiffs Frank M. Barrepski Jr. and Carrie M. Barrepski are married individuals
who reside in West Springtield, MA.

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Defendant Capital One Bank (U.S.A.), N.A. is a corporation with a place of
business at 15000 Capital One Drive, Richmond VA 23238.

. Defendant Experian Information Systems, Inc. is a business entity with a

corporate headquarters at 475 Anton Blvd., Costa Mesa, CA 92626.

FACTUAL ALLEGATIONS

On January 17, 2009 an action for an alleged credit card debt owed to Capital One
for $539_ 16 was filed in the Small Claims Division of the Springfield District
Court under docket # 0923 SC03 17 with hearing scheduled for April 23, 2009.

In response, counterclaims were filed on or about April 14, 2009.

Capital One Bank offered to dismiss its claim and the counterclaims with
prejudice

Such offer was accepted and ajudgment of dismissal with prejudice was entered
on Aplil 22, 2009.

However, the alleged debt owed was not removed from Mr. Barrepski’s consumer
report

Mr. Barrepski’s wife, Carrie Barrepski, called Capital One several times on his
behalf to tell them that it was necessary to remove their entry from his consumer
report

Capital One’s response was that they would change the entry to “settled and
dismissed”.

While such an entry of “settled and dismissed” would not be considered accurate,
Capital One failed to even make that entry.

In two more calls placed by Carrie Barrepski on May 30, 2009 and June 4, 2009,
Capital One did not provide any meaningful response at all.

Carrie Barrepski called the I_,aw Offioe of Gary Kreppel, which represented
Capital One in the small claims case and left a voice mail explaining the situation

A paralegal returned the call and left a voice mail stating that she would
investigate the matter.

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Carrie Barrepski returned this phone call on June 4, 2009 and Was told that a letter
had been sent to Capital One explaining that the entry needed to be removed, but
they had not done so. She stated that another message would be sent to Capital
One

Carrie Barrepski has multiple disabilities, including legal blindness, hearing loss,
cardiac disease and cerebral palsy, which affects her balance as well. She has also
been diagnosed with osteoporosis.

On April 24th, 2009, Carrie Barrepski fell and severely broke her ankle and
emergency surgery was required She was in the hospital for eighteen days and
then underwent extensive in-horne therapy and then outpatient therapy

As a result, the doctors said they felt a one story house would be much safer,
stating that another fall would be even more serious, especially given her multiple
disabilities

The Capital One entry on Mr. Barrepski’s consumer report was disputed online
through Experian on June ll, 2009.

On information and belief, Expeiian put Capital One on notice of the dispute

On June 12, 2009, a notice of completed investigation was sent, which not only
did not remove the entry but actually increased the amount allegedly owed

Neither defendant conducted an investigation that was reasonable

ln response, Carrie Barrepski phoned Experian on the morning of June 15, 2009
to challenge the “investigation” result

Experian’s response was to claim that it could do nothing, alleging it was bound
by the information provided by Capital One

In a phone call to Experian on July 1, 2009, Carrie was informed that the Capital
One entry was still on Mr. Barrepski’s credit report Experian also stated that it
would investigate the matter further.

On July 2, 2009, Experian sent a notice of completed investigation Once again7
not only was the Capital One entry not removed, but the amount allegedly owed
was increased as well.

The false and defamatory Capital One entry had a negative impact on Mr. and
Mrs. Barrepski’s attempt to secure a mortgage for a different house On or about
July 16, 2009, Frank and Carrie Barrepski applied for a mortgage at United Bank
in the amount of $156,000.

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This mortgage application was denied

As a result of the Defendants’ actions or failures to act, Mr. and Mrs. Barrepski
experienced pain and suffering and emotional distress

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Plaintiffs restate and incorporate by reference the allegations of paragraphs l
through 26, inclusive

Defendant Capital One Bank’s failure to conduct a reasonable investigation and
remove the false entry of the alleged debt from Mr. Barrepski’s consumer report
violated §§16815-2(b) of the F air Credit Reporting Aet.

As a result of this conduct, Mr. Barrepski’s consumer report contained false
information that led to the denial of a mortgage application blocking the
Barrepski’s attempt to secure a safer home for Mrs. Barrepski. The false entry
also defamed Mr. Barrepskil In addition, both Mr. and Mrs. Barrepski
experienced pain and suffering and emotional distress

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Plaintiffs restate and incorporate by reference the allegations of paragraphs l
through 29, inclusive

Defendant Capital One Bank’s failure to conduct a reasonable investigation and
remove the false entry of the alleged debt from Mr. Barrepski’s consumer report
violated M.G.L. c. 93 54A.

As a result of this conduct, Mr. Barrepski’s consumer report contained false
information that led to the denial of a mortgage application blocking the
Barrepski’s attempt to secure a safer home for Mrs. Barrepski. The false entry
also defamed Mr. Barrepski In addition, both Mr. and Mrs. Barrepski
experienced pain and suffering and emotional distress

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Plaintiffs restate and incorporate by reference the allegations of paragraphs l
through 32, inclusive

Defendant Experian’s failure to conduct a reasonable investigation and remove
the false entry of the alleged debt from Mr. Barrepski’s consumer report violated
§§168 li of the F air Credit Reporting Act.

As a result of this conduct, Mr. Barrepski’s consumer report contained false
information which led to the denial of a mortgage application, blocking the

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Barrepski’s attempt to secure a safer home for Mrs. Barrepski The false entry
also defamed Mr. Barrepski In addition both Mr. and Mrs. Barrepski
experienced pain and suffering and emotional distress

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Plaintiffs restate and incorporate by reference the allegations of paragraphs l
through 35, inclusive

Defendant Experian`s failure to conduct a reasonable investigation and failing to
remove the false entry of the alleged debt from Mr. Barrepski’s consumer report
violated M.G.L. c. 93 §58.

As a result of this conduct, Mr. Barrepski’s consumer report contained false
information that led to the denial of a mortgage application blocking the
Barrepski’s attempt to secure a safer home for Mrs. Barrepski The false entry
also defamed Mr. Barrepski. In addition both Mr. and Mrs. Barrepski
experienced pain and suffering and emotional distress

WI-IEREFORE, the Plaintiffs respectfully request that this Court:

a. Award Frank Barrepski $156,00 for actual damages;
b. Award Frank Barrepski 5100,000 for defamation

c. Award Frank Barrepski $50,000 for mental and emotional distress, and
pain and suffering;

d. Award Frank Barrepski pre-judgment and post-judgment interest on all
damages awarded, to the maximum extent allowed by law;

e. Award Frank Barrepski punitive damages;

f. Award Frank Barrepski such other relief as the Court deems just and
proper.

g. Award Carrie Barrepski $156,000 for actual damages;

h. Award Carrie Barrepski $75,000 for mental and emotional distress, and
pain and suffering;

i. Award Carrie Barrepski pre-judgment and post-judgment interest on all
damages awarded, to the maximum extent allowed by law;

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j. Award Carrie Barrepski punitive damages;

k, Award Carrie Barrepski such other relief as the Court deems just and
proper

PLAlNTlFFS REQUEST A TRIAL BY JURY.
Respectfully submitted this 9th day of June 2011,

Frank M. Barrepski .lr, pro se Carrie M. Barrepski, pro se

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